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    U.S. Department of State
    Diplomacy in Action
    National Counterterrorism Center: Annex of Statistical Information
    Country Reports on Terrorism
    OFFICE OF THE COORDINATOR FOR COUNTERTERRORISM
    April 30, 2008
    Report



    Developing Statistical Information
    Consistent with its statutory mission to serve as the U.S. Government's knowledge bank on international terrorism, the National
    Counterterrorism Center (NCTC) is providing the Department of State with required statistical information to assist in the
    satisfaction of its reporting requirements under Section 2656f of title 22 of the U.S. Code. The statistical information included in
    this Annex to the 2006 Country Reports on Terrorism is drawn from the data NCTC maintains on the www.nctc.gov
    (http://www.nctc.gov/) website.

    Section 2656f(b) of Title 22 of the U.S. Code requires the State Department to include in its annual report on terrorism “to the
    extent practicable, complete statistical information on the number of individuals, including United States citizens and dual
    nationals, killed, injured, or kidnapped by each terrorist group during the preceding calendar year.” While NCTC keeps statistics
    on the annual number of incidents of “terrorism,” its ability to track the speciﬁc groups responsible for each incident involving
    killings, kidnappings, and injuries is signiﬁcantly limited by the availability of reliable open source information, particularly for
    events involving small numbers of casualties. Moreover, speciﬁc details about victims, damage, perpetrators, and other incident
    elements are frequently not fully reported in open source information.


    The statistical material in this report, therefore, is drawn from the incidents of “terrorism” that occurred in 2007 as
    reported in open sources information, which is the most comprehensive body of information available to NCTC for
    compiling data that it can provide to satisfy the above-referenced statistical requirements.
    In deriving its ﬁgures for incidents of terrorism, NCTC in 2005 adopted the deﬁnition of “terrorism” that appears in the 22 U.S.C. §
    2656f(d)(2), i.e., “premeditated, politically motivated violence perpetrated against noncombatant targets by subnational groups or
    clandestine agents.”


    Through 2004 NCTC compiled statistical data on the basis of a more limited methodology tied to the deﬁnition of
    “international terrorism,” which is also contained in 22 U.S.C. § 2656f.
    Because of the change in methodology during 2004, the NCTC data is only comparable starting with the 2005 calendar
    year data.
    Subject to changes in reporting statutes, NCTC anticipates that future statistics provided by it will continue to be tied to
    the broader deﬁnition of “terrorism.”
    To record and update attack records, NCTC has continued to post information in the repository for the U.S. Government's
    database on terror attacks, the Worldwide Incidents Tracking System (WITS) that was unveiled in 2005. A data management
    system with a more comprehensive dataset than those used in years prior to 2004, WITS is accessible on the NCTC website at
    www.nctc.gov for the public to have an open and transparent view of the NCTC data. NCTC will insure that the data posted to
    the website is updated as often as necessary by regularly posting information about new or prior attacks.


    Considerations for Interpreting the Data

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    The percentages of attacks involving journalists increased 22 percent in 2007 and deaths and injuries resulting from
    those incidents increased by 12 percent from 2006. Hostage situations involving journalists increased from 47 in 2006 to
    79 in 2007.
    In addition to the human toll, over 19,000 facilities were struck or were targets of terrorist attacks last year. Since the data’s
    baseline in 2005, the most common types of properties damaged or destroyed during an attack were vehicles and residences,
    but in 2007 communities were frequently attacked, an approximate increase of 45 percent, from just over 930 attacks in 2006 to
    well over 1,300 attacks in 2007. The percentage of attacks for other types of property damage or destruction, such as those
    associated with energy, transportation, education, government, and other enterprises, remain at single digit levels with a few
    notable exceptions.


    Almost 100 mosques were targeted during an attack in 2007, in most cases by Islamic extremists, representing a 55
    percent decline. This is indicative of a return to levels in 2005, before the al-Qa’ida bombing of the Samarrah (Golden
    Dome) mosque that sparked a wave of sectarian violence in Iraq.
    Attacks on schools rose by 22 percent, but of those attacks reported, there was a 67 percent increase in the number of
    school facilities hit in those attacks.
    Attacks against political parties rose 64 percent with a 91 percent increase in party facilities being hit in those attacks.
    Attacks on communities increased 45 percent from 2006, and 158 percent from 2005. The ratio of the number of
    communities hit to the number of attacks was about 1:2, 2:3, and 1:3 for 2005, 2006, and 2007, respectively. This drop
    in 2007 may indicate that communities have taken security measures to protect themselves.
    Attacks on trains and subways rose 28 percent from 2006, and 83 percent from 2005, indicating terrorists are still intent
    on targeting them. However, the number of trains and subways actually hit in these attacks dropped 24 percent from
    2006, indicating that security measures may be eﬀective.
    An Academic’s Perspective of Statistical Data

    “Congress mandated a review and annual reporting on international terrorism starting in 1987, and an opportunity was missed to
    create a national accounting of terrorism with the same standing as the accounting for inﬂation and unemployment. In 2004, the
    government acknowledged mistakes in the 2003 report and made eﬀorts to improve future reporting. Out of the improvements
    emerged the Worldwide Incidents Tracking System (WITS) and the enumeration of data has markedly improved in the past
    several years. Pursuing the data is fascinating, and some assumptions made about terrorism must be reconsidered. Gaps in our
    knowledge of terrorism remain, and however professional the WITS team has become, the data lacks the standing that national
    statistics merit. Two areas of improvement are of vital concern: time series data and reducing missing values, both crucial for
    statistical inference. Time series data allows us to rigorously investigate what actions work best to reduce terrorism. Making the
    public and academics guess about crucial relationships in data due to missing values, reduces rather than enhances the
    usefulness of the data. Classiﬁed information could be used to inform missing values without exposing conﬁdential sources.
    National statistics are a great public service, and there is no reason that our national security policy should not be conditioned by
    trends and patterns with the same accuracy used to track our economy.


    Building up a small but dedicated staﬀ of enumerators and subjecting their procedures to the annual critiques of a Brain Trust (on
    which I serve), the WITS product has markedly improved in the past several years. It has produced a web-based data service
    that can help public oﬃcials, journalists and citizens answer basic questions about the scope and source of terrorism in today’s
    world.”


    David Laitin
    Stanford University
    April 30, 2008




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    The full letter of Dr. Laitin is available in the 2007 NCTC Report on Terrorism, available via the Internet at www.nctc.gov
    (http://www.nctc.gov/).


    Terrorism Deaths, Injuries, Kidnappings of Private U.S. Citizens, 2007
    Provided by the Bureau of Consular Affairs, U.S. Department of State

    The term "Private U.S. Citizen" refers to any U.S. citizen not acting in an oﬃcial capacity on behalf of the U.S. Government;
    therefore these ﬁgures do not include, for example, U.S. military personnel killed or injured in a terrorism-related incident while on
    active duty or employees of the Department of State and other federal agencies. Members of U.S. Government employees’
    households are considered private U.S. citizens.


    Although every eﬀort was made to include all terrorism-related deaths and injuries involving private U.S. citizens, the ﬁgures
    below reﬂect only those cases reported to, or known by, the U.S. Department of State, and may not reﬂect actual numbers of
    injured, which may not always be reported depending on their severity. As NCTC also notes, in the cases of Iraq and Afghanistan,
    it is particularly diﬃcult to gather comprehensive information about all incidents and to distinguish terrorism from the numerous
    other forms of violence.


    U.S. citizens worldwide killed as a result of incidents of terrorism: 19
    U.S. citizens worldwide injured as a result of incidents of terrorism: 0
    U.S. citizens worldwide kidnapped as a result of incidents of terrorism: 17


    In all cases limited to incidents targeting noncombatants.
    TERRORISM DEATHS OF PRIVATE U.S. CITIZENS IN 2007 (BY COUNTRY)


    Country     Date of Incident Number Location

    AfghanistanFebruary 27          1         Bagram


                June 28             1         Pol-i-Charki


    Iraq        January 17          1         Baghdad


                January 18          1         Baghdad


                January 23          5         Baghdad


                March 27            1         Baghdad


                March 31            1         Diwaniyah


                June 12             2         Baquba, near Tikrit


                July 19             1         Baghdad


                September 18        1         Baghdad


                November 26         1         Baghdad


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